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VALIDATE CASE PAPERS
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IN THE MONTGOMERY COURFY CHRURE COURT

JESSICA HECKMAN
AND
TRINITY HECKMAN

Plaintiffs.

Case Now 1FO00GOz00

v.
RUSHMORE LOAN MANAGEMENT SERVICES, LLC

SERVE REGISTERED AGENT:
CORPORATION SERVICE COMPANY
100 SHOCKOE SLIP FL 2

RICHMOND, VA 23219-4100

AND

US. BANK NATIONAL ASSOCIATION
AS TRUSTEE FOR THE RMAC TRUST,
SERIES 2016-CTT

SERVE REGISTERED AGENT:
CT CORPORATION SYSTEM
4701 COX RD STE. 285

GLEN ALLEN, VA 23060

Defendants. —

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s

COMPLAINT

JESSICA and TRINITY HECKMAN, Plaintiffs, file this Complaint against

JONATHAN Rocers, P.C.

ATTORNEY Ar Law Rushmore Loan Management Services, LLC (hereinafter “Rushmore”) and U.S. Bank

FLovp, VIRGINIA 24091
540-745-8686

National Association as Trustee for the RMAC Trust, Series 2016-CTT (hereinafter

“US. Bank”), Defendants, and move this Court for judgment against the Defendants in

 

the amount of Ninety Thousand Two Hundred Ten Dollars ($90,210.00) in

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compensatory damages and One Hundred Fifty Thousand Dollars ($150,000.00) in
punitive damages for the Defendants’ Breaches of Contract, Tortious Interference With
a Contract and Contempt of Court and in support thereof, the Plaintiffs state as follows:

I ‘The Plaintiffs are husband and wife and at all material times resided in
, Montgomery County, Virginia and still reside in Montgomery County, Virginia

2, Jessica Heckman is a nurse and Trinity Heckman is a Police Officer.

3 | The Heckmans purchased a home on June 8, 2006, said home located in
Montgomery County, Virginia which was financed by Flick Mortgage, and the Deed
anda Deed of Trust securing a Deed of Trust Note were duly recorded in the Clerk’s
Office Gf Montgomery County on that same date, instrument numbers 2006006892,
2006006893 respectively. |

4, The original amount owed on the Deed of Trust Note by the Heckmans
was One Hundred Thirty Four Thousand Two Hundred Twenty Six Dollars and Zero
Cents ($134,226.00), said Deed of Trust Note and Deed of Trust were signed under
seal. }

s The initial loan servicer was SunTrust Mortgage Inc. whom the Plaintiffs
sued for various violations of their Deed of Trust Note: however SunTrust Mortgage

settled that law suit.

6 . Some time in 2013 NationStar Mortgage, LLC (NationStar) became the

JONATHAN RocErs, P.C.
ATrorney Ar Law

roe wene loan servicer of the Plaintiffs Deed of Trust Note and also violated the terms of the

Deed of Trust Note and was sued in this Court.

 

 
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7 During this period of time, from 2006-2013 up to 2018, NationStar in
2016 vris the agent of the owner of the Deed of Trust Note, The Federal National
Mortgage Association (FannyMae), and had the full authority to negotiate
modifications to that Note. |

g As agent and loan servicer for FannyMae, NationStar agreed to the
following modification of the Deed of Trust Note: NationStar would be fully
responsible for the payment of all escrow amounts including taxes and insurance and,
most notably flood insurance, during the pendency of the lawsuit and in lieu of the
payment of any principal and interest to NationStar the Plaintiffs would pay the
principal and interest (1,050.00) every month into the trust account of their attorney.
Said agieement and modifications were incorporated into a Court Order of this Court
dated April 13, 2016.

9 Subsequently, on December 13, 2018, NationStar agreed in partial
settlement of the Complaint lodged against it in this Court to pay over all the monies
paid by the Plaintiffs into their attorney’s trust account to the Plaintiffs.

10. Accordingly, the principal and interest paid into the Plaintiffs’ attorney’s
trust account was thereby waived and was not due and owing to the Note holder.

El. ' On information and belief sometime after the Loan Modification

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ATTORNEY At Law

FLoyb, VIRGINIA 24091

540-745-8686 Trust Note to U.S. Bank who in turn transferred servicing of the Deed of Trust Note to

Agreement above stated the owner of the Deed of Trust Note transferred the Deed of

Rushmore.

 

 
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12. - The Defendants were notified of the aforesaid agreements reached
between FannyMae through their agent, NationStar, but in violation of that agreement
and in violation of this Court’s Order of April 13, 2016, and in tortious interference
with the contract, between the Plaintiffs and NationStar charged the Plaintiffs for
principal and interest, escrow amounts, late charges and interest for a total amount in
excess of Ninety Thousand Dollars ($90,000.00).

13, In violation of the agreements reached between NationStar and the
Plaintfts, the Defendants are now moving to foreclose on the Plaintiffs home claiming
they owe almost Two Hundred Nine Thousand Dollars ($209,000.00) which includes
the Ninety plus Thousand Dollars that were improperly charged to the Plaintiffs.

FIRST CAUSE OF ACTION

BREACH OF CONTRACT

14. Plaintiffs re-allege paragraphs 1-13 as if set forth verbatim herein.

15. The Defendants breached the binding agreement entered into between the

. Deed of Trust Note holder through its agent, NationStar, and the Plaintiffs by failing to

credit the Plaintiffs with over Ninety Thousand Dollars ($90,000.00).
16. As a result of this breach, the Plaintiffs have suffered over Ninety

Thousand Dollars ($90,000.00) in damages;

 
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COUNT I
TORTIOUS INTERFERENCE WITH A CONTRACT

17. Plaintiffs re-allege paragraphs 1-16 as if set forth verbatim herein.

ig In the alternative and in addition to a Breach of Contract claim
Defendants by their actions have tortuously interfered with the contract entered into
between the Deed of Trust Note holder through their agent, NationStar, by demanding
payment of monies that were agreed to be credited to the Plaintiffs and threatening
| foreclosure

19. Such actions by the Defendants were intentional and willful.

40. As a result of the Defendants tortious interference with the contract above
specified the Plaintiffs have suffered over Ninety Thousand Dollars ($90,000.00) in |
damages and request One Hundred and Fifty Thousand Dollars ($150,000.00). in
punitive damages.

: COUNT I

_CONTEMPT OF COURT FOR VIOLATING A COURT ORDER

21. Plaintiffs re-allege paragraphs 1-20 as if set forth verbatim herein.

22. The Defendants were made aware of this Court’s Order of April 13, 2016.

JONATHAN ROGERS, P.c.
ATTORNEY AT Law

“Gaovas-seee | the principal and interest paid pursuant to this Court’s Order to the Plaintiffs and by

23, Nonetheless, the Defendants violated this Court Order by failing to credit
initiating foreclosure on the Plaintiffs’ home and should be punished accordingly.

24. The Plaintiffs request a jury trial.

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WHEREFORE, the Plaintiffs, move this Court for the following relief against the
Defendants jointly and severally:
| b Ninety One Thousand Dollars ($91,000.00) as compensatory damages;

2, One Hundred Fifty Thousand Dollars ($150,000.00) as punitive damages;

3 Attorney’s fees and costs for violation. of this Court’s Order and for
tortuously interfering with the contract between NationStar and the Plaintiffs;

4, An injunction prohibiting any foreclosure by the Defendants against the
Plaintiff home; |

5. Such other and further relief as equity deem mete.

RESPECTFULLY SUBMITTED,
ape TRINITY HECKMAN

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